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                              EXHIBITS
                            No. 1:21-cv-02131-CJN

                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA



                   US Dominion, Inc., et al. vs. Patrick Byrne

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                                Exhibits to
Memorandum in Support of Defendant Patrick Byrne’s Motion to Dismiss Complaint

               __________________________________________
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